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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


ANGEL DE JESUS ZEPEDA RIVAS,                     CASE NO. 3:20-CV-02731-VC
BRENDA RUBI RUIZ TOVAR, LAWRENCE
KURIA MWAURA, LUCIANO GONZALO                    NOTICE OF WITHDRAWAL
MENDOZA JERONIMO, CORAIMA                        OF JORDAN WELLS AS
YARITZA SANCHEZ NUÑEZ, JAVIER                    COUNSEL FOR PETITIONERS-
ALFARO, DUNG TUAN DANG, JUAN JOSE
ERAZO HERRERA, RAJNISH RAJNISH, and              PLAINTIFFS
WILLIAN MATIAS RAUDA,
                                                 JUDGE VINCE CHHABRIA
       Petitioners-Plaintiffs,

        v.

DAVID JENNINGS, Acting Director of the
San Francisco Field Office of U.S. Immigration
and Customs Enforcement; TONY PHAM,
Senior Official Performing the Duties of the
Director of the U.S. Immigration and Customs
Enforcement; U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT; GEO GROUP,
INC.; NATHAN ALLEN, Warden of Mesa
Verde Detention Facility,


              Respondents-Defendants.




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        PLEASE TAKE NOTICE that, pursuant to Civil Local Rule 11-5(a) and subject to the

Court’s permission, Jordan Wells is withdrawing as counsel for Petitioners-Plaintiffs. Notice of Mr.

Well’s intent to withdraw has been provided to counsel for Petitioners-Plaintiffs and counsel for

Respondents. The above-listed counsel will continue to serve as counsel of record for Petitioners-

Plaintiffs.

Dated: October 14, 2021

                                               AMERICAN CIVIL LIBERTIES
                                               UNION FOUNDATION OF
                                               SOUTHERN CALIFORNIA


                                               By: /s/ Jordan Wells
                                               Jordan Wells
                                               Attorney for Petitioners-Plaintiffs




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                                UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


ANGEL DE JESUS ZEPEDA RIVAS,                           CASE NO. 3:20-CV-02731-VC
BRENDA RUBI RUIZ TOVAR, LAWRENCE
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MENDOZA JERONIMO, CORAIMA
YARITZA SANCHEZ NUÑEZ, JAVIER
ALFARO, DUNG TUAN DANG, JUAN JOSE
ERAZO HERRERA, RAJNISH RAJNISH, and                    [PROPOSED] ORDER
WILLIAN MATIAS RAUDA,
                                                       JUDGE VINCE CHHABRIA
      Petitioners-Plaintiffs,

      v.
DAVID JENNINGS, Acting Director of the
San Francisco Field Office of U.S. Immigration
and Customs Enforcement; TONY PHAM,
Senior Official Performing the Duties of the
Director of the U.S. Immigration and Customs
Enforcement; U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT; GEO GROUP,
INC.; NATHAN ALLEN, Warden of Mesa
Verde Detention Facility,

       Respondents-Defendants.




       Jordan Wells seeks to withdraw as counsel for Petitioners-Plaintiffs in the above-captioned

litigation pursuant to Civil Local Rule 11-5(a). As this Court finds Mr. Wells has submitted

satisfactory reasoning for withdrawal and that permitting his withdrawal will not cause substantial

prejudice or delay to any party, IT IS HEREBY ORDERED that Jordan Wells is relieved as

counsel for Petitioners-Plaintiffs in this proceeding.



Date: ___________________                      ___________________________________________
                                               JUDGE VINCE CHHABRIA




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